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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On February 8, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following document via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Order Scheduling Omnibus Hearing Date [Docket No. 958]

Dated: February 14, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                                                                         Core/2002 Service List
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                Description                               CreditorName                       CreditorNoticeName                             Email
                                                                                                                          daniel.guyder@allenovery.com;
                                                                                                                          bradley.pensyl@allenovery.com;
 Counsel to Hon Hai Precision Industry                                                                                    chris.newcomb@allenovery.com;
 Co., Ltd. (a/k/a Hon Hai Technology                                                  Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                                 Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development LLC,                                                 Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                          Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
 Counsel to Hon Hai Precision Industry
 Co., Ltd. (a/k/a Hon Hai Technology
 Group), Foxconn EV Technology, Inc.,                                                                                     noah.brumfield@allenovery.com;
 Foxconn EV Property Development LLC,                                                 Noah Brumfield, Patrick Pearsall,   patrick.pearsall@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                          Michael Modesto Gale                michael.modestogale@allenovery.com
 Counsel to Applied Medical Resources
 Corp.                                     Austria Legal, LLC                         Matthew P. Austria                  maustria@austriallc.com
 Committee of Unsecured Creditors          Barry L. Leonard & Co. Inc.                Attn: Kim Parsons                   kim@trans-machine.com
 Top 30 and Committee of Unsecured
 Creditors                                 Barry L. Leonard and Company Inc.          dba Trans Machine Technologies      Barry@trans-machine.com
 Counsel to Edward Hightower and Adam Benesch Friedlander Coplan &                    Jennifer R. Hoover, Steven L.       jhoover@Beneschlaw.com;
 Kroll                                     Aronoff LLP                                Walsh                               swalsh@Beneschlaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                                    greg.varallo@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &                Gregory V. Varallo, Glenn R.        glenn.mcgillivray@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                                 McGillivray, Daniel Meyer           daniel.meyer@blbglaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                Jeroen van Kwawegen, Thomas         jeroen@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &                G. James, Margaret Sanborn-         Thomas.James@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                                 Lowing                              Margaret.Lowing@blbglaw.com
                                                                                                                          msawyer@brownrudnick.com;
 Counsel to the Official Committee of                                                 Matthew A. Sawyer, Sharon I.        sdwoskin@brownrudnick.com;
 Equity Security Holders                       Brown Rudnick LLP                      Dwoskin, Tristan G. Axelrod         taxelrod@brownrudnick.com
                                                                                                                          rstark@brownrudnick.com;
 Counsel to the Official Committee of                                                Robert J. Stark, Bennett S.          bsilverberg@brownrudnick.com;
 Equity Security Holders                       Brown Rudnick LLP                     Silverberg, Michael S. Winograd      mwinograd@brownrudnick.com
 Counsel to Oracle America, Inc.               Buchalter, A Professional Corporation Shawn M. Christianson, Esq.          schristianson@buchalter.com
 Counsel to Cigna Health and Life
 Insurance Company                             Connolly Gallagher LLP                 Jeffrey C. Wisler                   jwisler@connollygallagher.com
 Official Committee of Equity Security
 Holders                                       Crestline Management, L.P.             Attn: Shaun McGowan                 summitcompliance@crestlineinc.com
 Bankruptcy Counsel to the to the
 Securities Litigation Lead Plaintiff George
 Troicky                                       Cross & Simon, LLC                     Christopher P. Simon, Esq.          csimon@crosslaw.com
                                                                                                                          attorney.general@state.de.us;
 Delaware State AG and DOJ                     Delaware Dept of Justice            Attorney General                       attorney.general@delaware.gov
 DE Secretary of State                         Delaware Secretary of State         Division of Corporations               dosdoc_bankruptcy@state.de.us
 DE State Treasury                             Delaware State Treasury                                                    statetreasurer@state.de.us
 Counsel to Oracle America, Inc.               Doshi Legal Group, P.C.             Amish R. Doshi, Esq.                   amish@doshilegal.com
 Official Committee of Equity Security         Esopus Creek Value Series Fund LP -
 Holders                                       Series “A”                          Attn: Andrew L. Sole                 andrewsole@ecvlp.com
                                                                                                                        citizenservices@myfloridalegal.com;
 Attorney General of FL (emp operations)       Florida Attorney General               Attn Bankruptcy Department        oag.civil.eserve@myfloridalegal.com
                                                                                      Attention: Jerry Hsiao and Steven jerry.hsiao@foxconn.com;
 Foxconn                                       Foxconn EV Technology, Inc.            Yu                                stevenyu@foxconn.com
                                                                                      c/o Hon Hai Precision Industry
 Foxconn                                       Foxconn Ventures Ptd. Ltd.             Co., Ltd. Attn Jerry Hsiao        jerry.hsiao@Foxconn.com
 Counsel to Marelli North America, Inc.        Frost Brown Todd LLP                   A.J. Webb, Esq                    awebb@fbtlaw.com
 Counsel to Akebono Brake Corporation          Frost Brown Todd LLP                   Edward M. King                    tking@fbtlaw.com
 Counsel to Marelli North America, Inc.        Frost Brown Todd LLP                   Patricia K. Burgess               pburgess@fbtlaw.com

 Attorney General of GA (emp operations)       Georgia Attorney General               Attn Bankruptcy Department         Agcarr@law.ga.gov
 Foxconn                                       Hon Hai Precision Industry Co., Ltd    Attention Jerry Hsiao              jerry.hsiao@Foxconn.com
 Attorney General of IL (emp operations)       Illinois Attorney General              Attn Bankruptcy Department         bankruptcy_notices@ilag.gov
 IRS                                           Internal Revenue Service               Attn Susanne Larson                SBSE.Insolvency.Balt@irs.gov
                                                                                                                         bruce@katten.com;
                                                                                      Bruce G. Vanyo, Sarah              sarah.eichenberger@katten.com;
 Co-Counsel to Edward Hightower and                                                   Eichenberger, Jonathan             jonathan.rotenberg@katten.com;
 Adam Kroll                                  Katten Muchin Rosenman LLP               Rotenberg, Cindi M. Giglio         cgiglio@katten.com
 Bankruptcy Counsel to the to the                                                                                        metkin@lowenstein.com;
 Securities Litigation Lead Plaintiff George                                          Michael S. Etkin, Esq., Andrew     abehlmann@lowenstein.com;
 Troicky                                     Lowenstein Sandler LLP                   Behlmann, Esq.,Scott Cargill, Esq. scargill@lowenstein.com




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                                                                    Core/2002 Service List
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                Description                           CreditorName                         CreditorNoticeName                             Email
 Financial Advisor to the Official
 Committee of Equity Security Holders      M3 Advisory Partners                     Robert Winning                     rwinning@m3-partners.com
 Attorney General of MI (business
 operations)                               Michigan Attorney General                Attn Bankruptcy Department         miag@michigan.gov
 Counsel to Michigan Department of                                                  Heather L. Donald, Assistant
 Treasury                                  Michigan Department of Treasury          Attorney General                   donaldh@michigan.gov
 Counsel to GAC R&D Center Silicon         Miller, Canfield, Paddock and Stone,
 Valley, Inc.                              P.L.C.                                   Marc N. Swanson                 swansonm@millercanfield.com
 Counsel to the Official Committee of                                                                               emonzo@morrisjames.com;
 Equity Security Holders                   Morris James LLP                         Eric J. Monzo, Brya M. Keilson  bkeilson@morrisjames.com
                                                                                                                    rdehney@morrisnichols.com;
                                                                                    Robert J. Dehney, Matthew B.    mharvey@morrisnichols.com;
                                                                                    Harvey, Matthew O. Talmo, Donna mtalmo@morrisnichols.com;
 Counsel to Foxconn                        Morris, Nichols, Arsht & Tunnell LLP     L. Culver                       dculver@morrisnichols.com
 Attorney General of NC (emp operations) North Carolina Attorney General            Attn Bankruptcy Department      ncago@ncdoj.gov
                                           Office of the United States Trustee                                      USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE             Delaware                                 Benjamin Hackman                benjamin.a.hackman@usdoj.gov
 Attorney General of OH (business
 operations)                               Ohio Attorney General                Attn Bankruptcy Department             trish.lazich@ohioattorneygeneral.gov
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly
 situated stockholders of Lordstown Motors
 Corp. f/k/a DiamondPeak Holdings Corp. Pashman Stein Walder Hayden, P.C. Joseph C. Barsalona II                       jbarsalona@pashmanstein.com
                                                                                                                       mikehuang@paulhastings.com;
 Counsel to Foxconn                        Paul Hastings LLP                        Mike Huang, Kevin P. Broughel      kevinbroughel@paulhastings.com
 Attorney General of PA (emp operations) Pennsylvania Attorney General              Attn Bankruptcy Department         info@attorneygeneral.gov
 Official Committee of Equity Security
 Holders                                   Pertento Partners LLP                    Attn: Ian Trundle                  ian@pertento.com
 Counsel to Logicalis, Inc.                Polsinelli PC                            Christopher A. Ward                cward@polsinelli.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                                 gfbruckner@pomlaw.com;
 situated stockholders of Lordstown Motors                                          Gustavo F. Bruckner, Samuel J.     sjadams@pomlaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Pomerantz LLP                               Adams, Ankita Sangwan              asangwan@pomlaw.com
 Top 30 and Committee of Unsecured
 Creditors                                 SA Automotive LTD                        Shar Hedayat                       Shar.Hedayat@saautomotive.com
 Committee of Unsecured Creditors          SA Automotive Ltd.                       Attn: Katherine Diederich          katherine.diederich@aesseinvltd.com
 Counsel to Harco Manufacturing Group,
 LLC                                       Saul Ewing LLP                           Evan T. Miller                     evan.miller@saul.com
                                                                                                                       bankruptcynoticeschr@sec.gov;
 SEC Regional Office                       Securities & Exchange Commission         NY Regional Office                 nyrobankruptcy@sec.gov
 SEC Regional Office                       Securities & Exchange Commission         PA Regional Office                 philadelphia@sec.gov
                                                                                                                       SECBankruptcy-OGC-ADO@SEC.GOV;
 SEC Headquarters                          Securities & Exchange Commission         Secretary of the Treasury          secbankruptcy@sec.gov
                                           Skadden, Arps, Slate, Meagher &          Joseph O. Larkin, Esq., Stephen J. Joseph.Larkin@Skadden.com;
 Counsel to LAS Capital LLC                Flom LLP                                 Della Penna, Esq.                  stephen.dellapenna@skadden.com
                                           Skadden, Arps, Slate, Meagher &
 Counsel to LAS Capital LLC                Flom LLP                                 Robert D. Drain, Esq.              Robert.Drain@skadden.com
                                           Skadden, Arps, Slate, Meagher &          Ron E. Meisler, Esq., Jennifer     Ron.Meisler@Skadden.com;
 Counsel to LAS Capital LLC                Flom LLP                                 Madden, Esq.                       Jennifer.Madden@Skadden.com
 Counsel to Applied Medical Resources
 Corp.                                     Snell & Wilmer L.L.P.                    Andrew B. Still                    astill@swlaw.com
 Counsel to Elaphe Propulsion
 Technologies Ltd.                         Sullivan Hazeltine Allinson LLC          William A. Hazeltine               whazeltine@sha-llc.com
 Top 30 and Committee of Unsecured                                                                                     jbasso@diversifiedtoolinggroup.com;
 Creditors                                 Superior Cam Inc                         John Basso                         jmbasso@diversifiedtoolinggroup.com
                                                                                                                       bankruptcytax@oag.texas.gov;
 Attorney General of TX (emp operations)   Texas Attorney General                   Attn Bankruptcy Department         communications@oag.texas.gov
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders         David M. Fournier, Tori L.         david.fournier@troutman.com;
 Unsecured Creditors                       LLP                                      Remington                          tori.remington@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Deborah Kovsky-Apap                deborah.kovsky@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Francis J. Lawall                  francis.lawall@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Sean P. McNally                    sean.mcnally@troutman.com
 US Attorney for District of Delaware      US Attorney for District of Delaware     US Attorney for Delaware           usade.ecfbankruptcy@usdoj.gov
 Counsel to Elaphe Propulsion
 Technologies, Ltd                         Warner Norcross + Judd LLP               Stephen B. Grow                    sgrow@wnj.com




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               Description                         CreditorName                    CreditorNoticeName                     Email
 Co-Counsel for the Debtors and Debtors-
 in-Possession                           White & Case LLP                   David M. Turetsky             david.turetsky@whitecase.com
 Co-Counsel for the Debtors and Debtors-
 in-Possession                           White & Case LLP                   Jason N. Zakia                 jzakia@whitecase.com
                                                                                                           rkampfner@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                    Roberto Kampfner, Doah Kim, RJ doah.kim@whitecase.com;
 in-Possession                           White & Case LLP                   Szuba                          rj.szuba@whitecase.com
                                                                                                           tlauria@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                    Thomas E Lauria, Matthew C.    mbrown@whitecase.com;
 in-Possession                           White & Case LLP                   Brown, Fan B. He               fhe@whitecase.com
 Local Co-Counsel for the Debtors and                                       Donald J. Detweiler, Morgan L. don.detweiler@wbd-us.com;
 Debtors-in-Possession                   Womble Bond Dickinson (US) LLP     Patterson                      morgan.patterson@wbd-us.com
                                                                                                           bankfilings@ycst.com;
 Counsel to Darren Post, Steve Burns,   Young Conaway Stargatt & Taylor,                                   sbeach@ycst.com;
 John LaFleur, and Rich Schmidt         LLP                                 Sean M. Beach, Shane Reil      sreil@ycst.com




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                    Exhibit B
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              Description                    CreditorName                      CreditorNoticeName                  Address1                  Address2             Address3             City        State     Zip         Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                  920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                       Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department         1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                              201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan                1100                                                                 Fort Worth        TX    76102
                                                                                                            Attn Bankruptcy
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                   Department                  Carvel State Building 820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations           Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                            820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                              Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department         PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                        Grand Pavilion,       802 West Bay
  Foxconn                              Foxconn (Far East) Limited                                           P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Cayman Islands
                                                                         Attention: Jerry Hsiao and         4568 Mayfield Road, Suite
  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                          204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                                 Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao         No. 66, Zhongshan Road      Zone                  Tucheng District   New Taipei City         23680        Taiwan
                                                                                                                                        Grand Pavilion,       802 West Bay
  Foxconn                              Foxteq Holdings Inc.                                                 P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Cayman Islands
                                                                                                                                        Grand Pavilion,       802 West Bay
  Foxconn                              Foxteq Integration Inc.                                              P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Cayman Islands
  Attorney General of GA (emp
  operations)                          Georgia Attorney General          Attn Bankruptcy Department         40 Capital Square, SW                                                Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,                                                                  Tucheng Industrial
  Foxconn                              Ltd                               Attention Jerry Hsiao              No. 66, Zhongshan Road      Zone                  Tucheng District   New Taipei City         23680        Taiwan
  Attorney General of IL (emp
  operations)                          Illinois Attorney General         Attn Bankruptcy Department         James R. Thompson Ctr       100 W. Randolph St.                      Chicago           IL    60601
  IRS                                  Internal Revenue Service          Attn Susanne Larson                31 Hopkins Plz Rm 1150                                               Baltimore         MD    21201
                                                                         Centralized Insolvency
  IRS                                  Internal Revenue Service          Operation                          PO Box 7346                                                          Philadelphia      PA    19101-7346
  Financial Advisor to the Official
  Committee of Equity Security                                                                              1700 Broadway, 19th
  Holders                              M3 Advisory Partners              Robert Winning                     Floor                                                                New York          NY    10019
  Attorney General of MI (business                                                                          G. Mennen Williams
  operations)                          Michigan Attorney General         Attn Bankruptcy Department         Building                    525 W. Ottawa St.     P.O. Box 30212     Lansing           MI    48909
  Attorney General of NC (emp
  operations)                          North Carolina Attorney General   Attn Bankruptcy Department         9001 Mail Service Center                                             Raleigh           NC    27699-9001
                                       Office of the United States
  US Trustee for District of DE        Trustee Delaware                  Benjamin Hackman                   844 King St Ste 2207        Lockbox 35                               Wilmington        DE    19801
  Attorney General of OH (business
  operations)                          Ohio Attorney General             Attn Bankruptcy Department    30 E. Broad St. 14th Fl                                                   Columbus          OH    43215-0410
  Counsel to Foxconn                   Paul Hastings LLP                 Mike Huang, Kevin P. Broughel 200 Park Avenue                                                           New York          NY    10166
  Foxconn                              PCE Paragon Solutions Kft.                                      Komarom                          Banki Donatu utca 1                                              2900       Hungary
  Attorney General of PA (emp                                                                          16th Floor, Strawberry
  operations)                          Pennsylvania Attorney General     Attn Bankruptcy Department    Square                                                                    Harrisburg        PA    17120
  Official Committee of Equity
  Security Holders                     Pertento Partners LLP             Attn: Ian Trundle                  111 Park Street                                                      London                  W1K 7JL      United Kingdom
  Top 30 and Committee of
  Unsecured Creditors                  SA Automotive LTD                 Shar Hedayat                       1307 Highview Dr                                                     Webberville       MI    48892




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                                                                                                Core/2002 Service List
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              Description                    CreditorName              CreditorNoticeName              Address1                  Address2              Address3           City      State     Zip      Country
  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich      1307 Highview Drive                                                  Webberville    MI    48892
                                   Securities & Exchange                                                                    100 Pearl St., Suite
  SEC Regional Office              Commission                    NY Regional Office             Regional Director           20-100                                   New York       NY    10004-2616
                                   Securities & Exchange                                                                                           1617 JFK
  SEC Regional Office              Commission                    PA Regional Office             Regional Director           One Penn Center        Boulevard Ste 520 Philadelphia   PA    19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury      100 F St NE                                                          Washington     DC    20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                     31240 Stephenson Hwy                                                 Madison Heights MI   48071
  Attorney General of TX (emp
  operations)                      Texas Attorney General        Attn Bankruptcy Department     300 W. 15th St                                                       Austin         TX    78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware       1313 N Market Street        Hercules Building                        Wilmington     DE    19801




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